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lN THE uNlTED sTATEs DlsTnlcT couaT w gy__, _______,,_
Foa THE wEsTEnN DisTnlcT oF TENNEssEE ,
wEsTEnN olvlsloN 05 Jm_ -| m 7= 57
uNlTEo sTATEs oF AMEnch CtEiK u.s. agreement
wm OF m MEM
Plaimiff
vs. cn. No. 05-20038-\3

JAMEY WASH|NGTON, JEREMY WASH|NGTON,
|V|ONTE BLAYDE, STON|E F|TZGERALD,
JASON OWENS, W|LL|A|V| BROWN,

Defendants.

 

ORDER ON CONT|NUANCE AND SPEC|FYiNG PEFt|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on June 23, 2005. At that time, counsel for the
defendants requested a continuance of the Juiy 5, 2005 trial date in order to allow for
additional preparation in the case.

The Court granted the request and reset the trial date to November 7, 2005 with a

report date of Monday, October 31, 2005l at 9:§9 a.m.. in Courtroom 1. 11th F|oor ot
the Federa| Building, Memphis, TN.

 

 

The period from Ju|y 15, 2005 through November 18, 2005 is excludable under 18
U.S.C. § 31 61 (h)(B)(B)(iv) because the ends of justice served in allowing for additional time
to prepare outweigh the need for a eedy trial.

rt is so onoEnEo this 'S_D day o 2005.

ce J. A EL BF\EEN
md owe dockets'% )'S¢/T@ lTE sTATEs DlsTchT uDGE_
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Notice of Distribution

This notice confirms a copy of the document docketed as number 75 in
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July 5, 2005 to the parties listed.

 

Lorraine Craig

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

1\/lemphis7 TN 38103

Samuel L. Perkins

SL PERKINS LAW GROUP, PLLC
147 Jefferson Ave.

Ste. 804

1\/lemphis7 TN 38103

Jerry Stokes

LAW OFFICE OF JERRY STOKES
100 N. Main St.

Ste. 2601

1\/lemphis7 TN 38103

Marvin E. Ballin

BALLIN BALLIN & FISHMAN
200 Jefferson Ave.

Ste. 1250

1\/lemphis7 TN 38103

Scottie O. Wilkes

KYLES & ASSOCIATES, PC
200 Jefferson Avenue

Ste. 850

1\/lemphis7 TN 38103

J Patten Brown

FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

1\/lemphis7 TN 38103

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Bruce I. Griffey

LAW OFFICES OF BRUCE 1. GRIFFEY
142 North Third St.

3rd Floor

1\/lemphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

